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 6
     Attorneys for Defendant
 7   FLOSPORTS, INC.
 8

 9                                UNITED STATES DISTRICT COURT
10            NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
11

12   LUCAS YOUNG, individually and on behalf of   Case No. 3:22-cv-04920-TSH
     all other persons similarly situated,
13                                                [Assigned to Magistrate Judge Thomas S.
                                   Plaintiff,     Hixson]
14
            v.                                    STIPULATION TO EXTEND TIME TO
15                                                RESPOND TO COMPLAINT (L.R. 6-1(a))
     FLOSPORTS, INC.,
16
                                   Defendant.
17
                                                  Complaint Filed: August 29, 2022
18                                                Complaint Served: September 9, 2022
                                                  Response Date: September 23, 2022
19                                                New Response Date: November 22, 2022

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                 STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT (L.R. 6-1(a))
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 1          Defendant FLOSPORTS, INC. (“Defendant”), on the one hand, and Plaintiff LUCAS

 2   YOUNG (“Plaintiff”), on the other hand, by and their respective counsel, jointly stipulate to extend

 3   the time for Defendant to respond to the Complaint by sixty (60) days from September 23, 2022 up

 4   to and including November 22, 2022.

 5          Pursuant to Local Rule 6-1(a), this extension will not alter the date of any event or any

 6   deadline already fixed by Court order. This stipulation is made in good faith and not for the purpose

 7   of causing unwarranted delay. This is FLOSPORTS, INC.’s first request for an extension.

 8          IT IS SO STIPULATED.
 9

10   DATED: September 20, 2022                BLANK ROME LLP

11                                            By: /s/ Ana Tagvoryan
                                              Ana Tagvoryan
12                                            Erica R. Graves

13                                            Attorneys for Defendant
                                              FLOSPORTS, INC.
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15
     DATED: September 20, 2022                BURSOR & FISHER, P.A.
16
                                              By: /s/ L. Timothy Fisher
17                                            L. Timothy Fisher
                                              Joseph I. Marchese (pro hac vice forthcoming)
18                                            Alec M. Leslie (pro hac vice forthcoming)
19                                            GUCOVSCHI ROZENSHTEYN, PLLC.
                                              Adrian Gucovschi (pro hac vice forthcoming)
20
                                              Attorneys for Plaintiff LUCAS YOUNG and the
21                                            Proposed Class
22

23                              ATTESTATION OF E-FILED SIGNATURE

24          I, Ana Tagvoryan, attest that concurrence in the filing of the document has been obtained

25   from Plaintiff’s counsel, and that Plaintiff’s counsel agreed to this stipulated extension.

26
     DATED: September 20, 2022                By: /s/ Ana Tagvoryan
27                                                    Ana Tagvoryan

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                                                        2
                 STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT (L.R. 6-1(a))
